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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7      UNITED STATES OF AMERICA,                              Case No. 2:16-CR-294 JCM (VCF)
                 8                                             Plaintiff(s),                       ORDER
                 9              v.
               10       KAILI TUALAU,
               11                                            Defendant(s).
               12
               13              On January 30, 2017, defendant Kaili Tualau filed an unopposed motion for the United

               14       States Department of Probation’s preparation of a pre-plea presentence report. (ECF No. 35).
                        Defendant requests this report be done “to determine if his prior convictions will trigger the
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                        sentencing enhancements pursuant to the Armed Career Criminal Act, 18 U.S.C. § 924(e)(1) or
               16
                        the career offender provision in the Sentencing Guidelines.” (Id. at 2).
               17
                               Accordingly,
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                               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant’s motion
               19       (ECF No. 35) be, and the same hereby is, GRANTED.
               20              DATED January 31, 2017.
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                                                                         _ _ ______________________
                                                                      __________________________________________
                                                                      UNITED
                                                                       NITEDD STATES DISTRICT JUDGE
                                                                                               JUDG
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James C. Mahan
U.S. District Judge
